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                        Exhibit D
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION


 LONE STAR TECHNOLOGICAL
 INNOVATIONS, LLC,                              Civil Action No. 6:19-CV-00059-RWS

             Plaintiff,                                      LEAD CASE

       v.

 ASUSTEK COMPUTER INC.,

             Defendant.

      DEFENDANT ASUSTEK COMPUTER INC.’S OBJECTIONS AND COUNTER-
         DESIGNATIONS TO PLAINTIFF’S DEPOSITION DESIGNATIONS
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   Pursuant to the Court’s Second Amended Docket Control Order (Dkt. 140), Defendant ASUSTeK

   Computer Inc. respectfully submits the following objections and counter-designations to Lone

   Star’s March 23, 2021 Preliminary Designation of Deposition Testimony/Video:

   Mr. Jaime Morquecho

       Lone Star Designation            Counter Designation                  Objections

    7:5-8:4

    :23-9:11                                                        Designation is incomplete;

                                                                    lacks foundation

    12:5-20                         12:21-23                        Outside the scope of 30(b)6;

                                                                    lacks foundation

    12:24-13:4                      13:5-6

    13:7-8                                                          Incomplete; lacks foundation

    17:25-9                         18:15-19:3                      Lacks personal knowledge

    19:14-20                        19:4-13                         Incomplete; lacks foundation

    23:12-24:5                      24:6-11                         Lacks personal knowledge

    24:12-16                        24:17-18                        Misstates testimony; lacks

                                                                    foundation

    29:16-21                        19:22-24

    29:25-30:2                      30:3-8                          Vague; question is compound

    30:9-23

    32:1-33:15                      33:16-34:6

    39:9-16


                                                                                                   2
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      Lone Star Designation        Counter Designation                  Objections

    40:18-41:3                41:4-15

    52:20-54:9                54:10-56:4

    56:5-14

    57:2-58:8

    59:1-14                                                    Incomplete; lacks foundation



 Mr. James Lee

      Lone Star Designation        Counter Designation                  Objections

    10:19-22                  9:16-10:18; 12:15-13:10; 19:5-   Lacks foundation; misstates

                              12                               testimony

    14:1-2                    14:3-6

    14:7-25                   15:1-3                           Outside the scope of 30(b)6;

                                                               lacks foundation

    15:4-7


    15:12-15


    16:8-18                   16:19-21                         Lacks foundation


    16:22                                                      Incomplete; lacks foundation

    17:14- 23                 17:24-18:8                       Lacks foundation; misstates

                                                               testimony

    18:9-23                   18:24-25                         Lacks foundation; misstates


                                                                                              3
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      Lone Star Designation      Counter Designation            Objections

                                                       testimony

    19:1-4                                             Lacks personal knowledge


    20:1-22                   19:24-25                 Incomplete; no question

                                                       designated;

    22:2-13                   22:14-16


    22:17-23:19               22:18-19                 Lacks personal knowledge;


    23:23-25:8                25:9-13


    25:14-27:2                27:3-10                  Mischaracterizes the record;

                                                       misstates testimony

    27:16-20


    28:12-18                  28:19-29:7


    29:15-30:5                30:6-13


    30:19-21                                           Not relevant; designation

                                                       likely made in error; not

                                                       admissible

    37:16-38:1                38:2-4                   Incomplete; no question

                                                       designated

    38:5-7                    38:8-10



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       Lone Star Designation              Counter Designation                      Objections

    47:22-48:6                        48:7-49:22                          Lacks foundation; incomplete

                                                                          hypothetical; misstates record

    52:25-53:7                        53:8-14


    53:15-54:6


    54:21-54:24




        Defendant reserves the right to supplement these counter designations. Defendant further

 reserves the right to use impeachment testimony at trial in accordance with all applicable rules.



 Dated: April 6, 2021                           Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 6, 2021, I emailed the foregoing document on the following

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